
356 N.W.2d 812 (1984)
Michael W. POEPKE, Relator,
v.
DOWNTOWN STANDARD, Respondent,
Commissioner of Economic Security, Respondent.
No. C6-84-979.
Court of Appeals of Minnesota.
October 30, 1984.
Michael J. Persellin, St. Cloud, for relator.
*813 Dennis E. Dalen, Minneapolis, for Downtown Standard.
Hubert H. Humphrey, III, State Atty. Gen., Regina M. Chu, Sp. Asst. Atty. Gen., St. Paul, for Com'r of Economic Sec.
Heard, considered and decided by SEDGWICK, P.J., and HUSPENI and NIERENGARTEN, JJ.

SUMMARY OPINION
SEDGWICK, Judge.

FACTS
Michael Poepke was discharged when he refused to work one of his two regularly scheduled Saturdays of the month. The Commissioner affirmed the referee's decision that Poepke was disqualified from benefits because he terminated his employment voluntarily and without good cause attributable to his employer or, alternatively, that he was discharged for misconduct.
The Commissioner found that failure to come to work on Saturday knowing that a discharge would result convincingly shows that claimant lacked any concern for his job and was misconduct as defined in Tilseth v. Midwest Lumber Co., 295 Minn. 372, 204 N.W.2d 644 (1973).

DECISION
Under the narrow scope of review available to this court, White v. Metropolitan Medical Center, 332 N.W.2d 25, 26 (Minn. 1983), the Commissioner's decision is supported by the evidence.
Affirmed.
